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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

 

CONFIGAIR LLC,
Plaintiff/Counterclaim Defendant,
Lead Docket No.
Vv, 3:17-cv-2026 (JBA)
HENRY KURZ,
Defendant/Counterclaimant. April 5, 2019

 

 

ENDORSEMENT AND AMENDED SCHEDULING ORDER

As set forth on the record of April 4, 2019, the Court orders the following:

1.

The Court will hear oral argument on all currently-pending motions ([Doc. ## 47, 49, 60])
on June 10, 2019 at 3:30 p.m. in Courtroom 2, 141 Church Street, New Haven, CT 06510.
The Motion for Sanctions ([Doc. # 77]) filed by ConfigAir LLC, Daniel Naus, Nizwer
Husain, and Dung Nguyen is DENIED as premature. Henry Kurz will be permitted 21 days
from the date of this Order to make any necessary amendments or substitutions.

Within 10 days, Mr. Kurz shall advise the Court as to his position on the contention by
ConfigAir that Kurz “does not dispute that he fails to state a claim for breach of fiduciary
duty based on ‘the loss of his sole and full authority for decision-making’ with respect to
the development of ConfigAir’s Software (Count II) or based on his inability to access ‘the
Company’s Google account’ (Count II).” ([Doce. # 55] at 2.)

The action against Defendant McLaren Automotive, Inc. is stayed by agreement pending
resolution of the underlying ownership dispute between the principal six parties
(ConfigAir LLC, Daniel Naus, Nizwer Husain, Dung Nguyen, Henry Kurz, and Henry
Kurz Consulting GmbH). During the stay, McLaren shall not take discovery of any other
party and no party shall take discovery of McLaren. However, McLaren is permitted to
receive other parties’ discovery, and the parties not subject to the stay may serve discovery

on each other related to McLaren.
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All non-McLaren discovery shall be completed by September 20, 2019.

After a pre-filing conference, any dispositive motions will be filed by October 15, 2019.

A telephonic pre-filing conference/status conference will be held October 11, 2019 at 4:00
p-m. Status Reports shall be filed by October 4, 2019. Defense counsel shall initiate the
conference call to chambers: 203-773-2737.

If dispositive motions are filed, the parties will be expected to be trial ready April 15, 2020.
The parties are referred to Magistrate Judge Spector for a settlement conference in August

or early September 2019 in which McLaren shall participate.

IT IS SO ORDERED.

[s/
Janet Bond Arterton, U.S.D.]J.

Dated at New Haven, Connecticut this 5" day of April 2019.
